                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

 PETER MAYO,                                            )
                                                        )
                Petitioner,                             )
                                                        )
 v.                                                     )       Nos: 3:11-CR-114-TAV-CCS
                                                        )            3:13-CV-230-TAV-CCS
 UNITED STATES OF AMERICA,                              )
                                                        )
                Respondent.                             )


                                        MEMORANDUM

        This is a motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. § 2255

 filed by petitioner Peter Mayo (“petitioner”). The government has filed its response to the

 motion and petitioner has filed a reply. Petitioner has also filed two motions to amend the

 § 2255 motion to raise Alleyne claims, two motions for release pending disposition of the §

 2255 motion, a motion titled “Rule 15(c)(1)(B),” which the Court will treat as a motion to

 amend to raise a claim of involuntary guilty plea, and a motion to amend to allege

 constructive amendment of the indictment. The motions to amend to raise Alleyne claims

 [Docs. 129, 136, and 1461] will be GRANTED, the motions to amend to raise a claim of

 involuntary guilty plea and constructive amendment of the indictment [Docs. 143 and 145]

 will be DENIED, and the motions for release [Docs. 142 and 147] will be DENIED. For

 the following reasons, the § 2255 motion to vacate will be DENIED and this action will be

 DISMISSED.


        1
         All citations to the record refer to the docket sheet in petitioner's criminal case.


Case 3:11-cr-00114-TAV-CCS            Document 148          Filed 06/09/14     Page 1 of 9      PageID
                                            #: 636
 I.       Standard of Review

          This Court must vacate and set aside petitioner's conviction upon a finding that “there

 has been such a denial or infringement of the constitutional rights of the prisoner as to render

 the judgment vulnerable to collateral attack.” 28 U.S.C. § 2255. To prevail under § 2255,

 petitioner “must show a 'fundamental defect which inherently results in a complete

 miscarriage of justice,' or, an error so egregious that it amounts to a violation of due process.”

 United States v. Ferguson, 918 F.2d 627, 630 (6th Cir. 1990) (quoting Hill v. United States,

 368 U.S. 424, 428 (1968)).

          Under Rule 8 of the Rules Governing Section 2255 Proceedings In The United States

 District Courts, the Court is to determine after a review of the answer and the records of the

 case whether an evidentiary hearing is required. If the motion to vacate, the answer and the

 records of the case show conclusively that petitioner is not entitled to relief under § 2255,

 there is no need for an evidentiary hearing. Baker v. United States, 781 F.2d 85, 92 (6th Cir.

 1986).

 II.      Factual Background

          Petitioner pleaded guilty to conspiracy to distribute and possess with intent to

 distribute oxycodone, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C) (Count

 One), and conspiracy to commit money laundering, in violation of 18 U.S.C. § 1956(h)

 (Count Two); he was sentenced to consecutive terms of imprisonment of 120 months on

 Count One and 42 months on Count Two, for a total term of imprisonment of 162 months.

 [Doc. 76, Judgment]. Petitioner did not appeal his sentence. In support of his § 2255

                                                 2


Case 3:11-cr-00114-TAV-CCS           Document 148       Filed 06/09/14      Page 2 of 9     PageID
                                           #: 637
 motion, petitioner alleges the Court erred in imposing consecutive sentences and that counsel

 rendered ineffective assistance by failing to object to the consecutive sentences or raise the

 issue on appeal.

 III.   Discussion

        A.     Alleged Court Error

        Petitioner's total offense level on Count One was 41, his total offense level on Count

 Two was 40, and his criminal history category was II. [Presentence Report, pp. 8-11, ¶¶ 29,

 38, and 45]. Based upon that, petitioner’s advisory sentencing guideline range was 324 to

 405 months. [Id. at 14, ¶ 61]. The statutory maximum terms of imprisonment on Counts One

 and Two, however, was 20 years on each Count. 21 U.S.C. § 841(b)(1)(C); 18 U.S.C. §

 1956(h), respectively. As the probation officer noted, the sentencing guidelines allow terms

 of imprisonment “to be imposed to run consecutively in instances where the statutory

 maximum is less than the total guideline term of imprisonment.” [Presentence Report, p. 14,

 ¶ 62 (citing U.S.S.G. § 5G1.2(d))]. Thus, for the Court to have sentenced petitioner to the

 bottom of his guideline range of 324 months, it would have necessary for the Court to have

 sentenced petitioner to consecutive terms of imprisonment of 240 months on Count One and

 84 months on Count Two.

        Prior to sentencing, the government moved for a downward departure based upon

 petitioner’s substantial assistance and asked the Court “to downwardly depart from

 defendant’s guideline sentence to a term of 194 months’ imprisonment, or 40% below the

 bottom of defendant’s advisory guideline range.” [Doc. 72, p. 3, Under Seal]. At sentencing,

                                               3


Case 3:11-cr-00114-TAV-CCS         Document 148       Filed 06/09/14    Page 3 of 9     PageID
                                         #: 638
 defense counsel asked the Court to depart 60 per cent below the bottom of the guideline

 range. [Doc. 135, Redacted Transcript of Sentencing Hearing, p. 22]. The Court granted the

 motion for downward departure and then sentenced petitioner to consecutive terms of

 imprisonment of 120 months on Count One and 42 months on Count Two, for a total term

 of imprisonment of 162 months. [Id. at 30]. This sentence obviously represented a 50 per

 cent reduction below the bottom of the guideline range of 324 months, which the Court

 concluded was appropriate under the circumstances of the case and would “afford adequate

 deterrence and provide just punishment.” [Id.].

          Because the Court sentenced petitioner to a term of imprisonment less than the

 statutory maximum, technically the Court should have sentenced petitioner to concurrent

 terms of imprisonment of 162 months. See U.S.S.G. § 5G1.2(b) and (d). As it stands,

 however, such a technical error was clearly harmless since the Court determined that a

 sentence of 162 months was appropriate under the facts of the case. Had the Court imposed

 concurrent terms of imprisonment of 162 months on Counts One and Two, petitioner’s

 sentence would have been the same. See United States v. Evans, 314 F.3d 329, 331-32 (8th

 Cir. 2003) (guidelines’ error was harmless where petitioner’s total sentence imposed

 comported with U.S.S.G. § 5G1.2). Petitioner is not entitled to relief under § 2255 on this

 claim.

          B.    Alleged Ineffective Assistance of Counsel

          In Strickland v. Washington, 466 U.S. 668 (1984), the United States Supreme Court

 established a two-part standard for evaluating claims of ineffective assistance of counsel:

                                              4


Case 3:11-cr-00114-TAV-CCS         Document 148      Filed 06/09/14    Page 4 of 9    PageID
                                         #: 639
        First, the defendant must show that counsel’s performance was deficient. This
        requires showing that counsel made errors so serious that counsel was not
        functioning as the “counsel” guaranteed the defendant by the Sixth
        Amendment. Second, the defendant must show that the deficient performance
        prejudiced the defense. This requires showing that counsel’s errors were so
        serious as to deprive the defendant of a fair trial, a trial whose result is reliable.

 Id. at 687.

        To establish that his attorney was not performing “within the range of competence

 demanded of attorneys in criminal cases,” McMann v. Richardson, 397 U.S. 759, 771 (1970),

 petitioner must demonstrate that the attorney’s representation “fell below an objective

 standard of reasonableness.” Strickland v. Washington, 466 U.S. at 687-88. In judging an

 attorney’s conduct, a court should consider all the circumstances and facts of the particular

 case. Id. at 690. Additionally, “a court must indulge a strong presumption that counsel’s

 conduct falls within the wide range of reasonable professional assistance; that is, the

 defendant must overcome the presumption that, under the circumstances, the challenged

 action ‘might be considered sound trial strategy.’” Id. at 689 (quoting Michel v. Louisiana,

 350 U.S. 91, 101 (1955)).

        The issue is whether counsel’s performance “was so manifestly ineffective that defeat

 was snatched from the hands of probable victory.” United States v. Morrow, 977 F.2d 222,

 229 (6th Cir. 1992) (en banc). Because he is seeking relief under § 2255, petitioner bears the

 burden of proving by a preponderance of the evidence that his counsel was deficient. See

 Pough v. United States, 442 F.3d 959, 964 (6th Cir. 2006).




                                                  5


Case 3:11-cr-00114-TAV-CCS           Document 148        Filed 06/09/14      Page 5 of 9         PageID
                                           #: 640
        Petitioner alleges that counsel should have objected to the imposition of consecutive

 sentences and should have raised the issue on appeal. As noted, however, petitioner was not

 prejudiced by the Court’s technical error and likewise was not prejudiced by counsel’s

 alleged failure to object to the sentence. In addition, an objection would have been frivolous

 because petitioner would have received the same total term of imprisonment. The failure of

 defense counsel to pursue frivolous motions and objections cannot constitute ineffective

 assistance of counsel. United States v. Hanley, 906 F.2d 1116, 1121 (6th Cir. 1990).

 Likewise, an attorney is not required to raise meritless issues on appeal. Mathews v. United

 States, 11 F.3d 583, 585 (6th Cir. 1993). Petitioner is not entitled to relief on his claim of

 ineffective assistance of counsel.

        C.     Alleyne v. United States

        In three of his motions to amend, petitioner alleges that, in light of the recent Supreme

 Court decision in Alleyne v. United States, 133 S. Ct. 2151 (2013), he should not have

 received enhancements for the amount of drugs, his leadership role, and the money

 laundering being tied to the underlying drug conspiracy because they were not alleged in the

 indictment or submitted to a jury. In Alleyne, the Supreme Court held that any fact

 increasing the mandatory minimum sentence for a crime is an “element” of that crime, not

 a sentencing factor, and therefore, the “element” must be submitted to the jury for

 determination. Id. at 2160. Alleyne sprang from Apprendi v. New Jersey, 530 U.S. 466

 (2000), in which the Court held: “Other than the fact of a prior conviction, any fact that



                                                6


Case 3:11-cr-00114-TAV-CCS            Document 148     Filed 06/09/14     Page 6 of 9     PageID
                                            #: 641
 increases the penalty for a crime beyond the prescribed statutory maximum must be

 submitted to the jury, and proved beyond a reasonable doubt.” Id. at 490.

        In his plea agreement, petitioner agreed to be held accountable for “conspiring to

 distribute and possess with the intent to distribute an amount of oxycodone pills equivalent

 to 40,200 kilograms of marijuana, resulting in a base offense level of 38.” [Doc. 29, Plea

 Agreement, p. 3, ¶ 4(e)]. He also agreed to the three-level leadership role enhancement “due

 to the managerial role” he played in the conspiracy. [Id.]. “[W]hen a defendant knowingly

 admits the facts necessary for a sentence enhancement in the context of a plea,

 simultaneously waiving his Sixth Amendment right to a jury trial, no Apprendi problem

 arises.” United States v. Yancy, 725 F.3d 596, 601 (6th Cir. 2013). In addition, in United

 States v. Cooper, 739 F.3d 873, 884 (6th Cir. 2014), the Sixth Circuit held that defendants

 were not entitled to relief under Alleyne because Alleyne “dealt with judge-found facts that

 raised the mandatory minimum sentence under a statute, not judge-found facts that trigger

 an increased guidelines range, such as happened to the defendants.” Accordingly, Alleyne

 does not afford petitioner any relief.

        D.     Motion to Amend – Involuntary Guilty Plea

        Petitioner also filed a motion to amend the § 2255 motion to state a claim that his

 guilty plea was not knowing and voluntary and a motion to amend to allege constructive

 amendment of the indictment. For the following reasons, the motions to amend are

 time-barred and will be denied.



                                              7


Case 3:11-cr-00114-TAV-CCS         Document 148      Filed 06/09/14    Page 7 of 9    PageID
                                         #: 642
        A federal prisoner has one year in which to file a § 2255 motion. The limitation

 period generally runs from the date on which the judgment of conviction becomes final. In

 the event a petitioner did not file a direct appeal, the statute of limitation commences when

 the time for filing a direct appeal has elapsed. Sanchez-Castellano v. United States, 358 F.3d

 424, 428 (6th Cir. 2004) (“[A]n unappealed federal criminal judgment becomes final ten days

 after it is entered, for purposes of the § 2255 statute of limitations, at least where there has

 been no district court extension of appeal time for good cause or excusable neglect.”).

 Petitioner’s judgment was entered April 16, 2012. Accordingly, petitioner had until April

 30, 2013, within which to file his § 2255 motion.2

        Petitioner timely filed his original § 2255 motion on April 22, 2013 [Doc. 122].

 Petitioner’s motions to amend the § 2255 were filed on March 10, 2014 [Doc. 143] and April

 8, 2014 [Doc. 145]. The question, then, is whether the motions to amend are timely because

 they “relate back” to the original filing date.

        “An amended habeas petition, we hold, does not relate back (and thereby escape

 AEDPA’s one-year time limit) when it asserts a new ground for relief supported by facts that

 differ in both time and type from those the original pleading set forth.” Mayle v. Felix, 545

 U.S. 644, 640 (2005). See also Oleson v. United States, 27 F. App’x 566, 571, 2001 WL

 1631828 *3 (6th Cir. December 14, 2001) (“Oleson’s amendment does not escape the




        2
          Effective December 1, 2009, a defendant’s notice of appeal must be filed within 14 days
 after entry of the judgment of conviction. Fed. R. Crim. App. 4(b)(1).

                                                   8


Case 3:11-cr-00114-TAV-CCS          Document 148       Filed 06/09/14     Page 8 of 9     PageID
                                          #: 643
 AEDPA statute of limitations by ‘relating back’ to previous claims -- Oleson’s amendment

 raises an entirely new argument”).

          Petitioner’s motions to amend raise new claims that his guilty plea was not knowing

 and voluntary and that the indictment was constructively amended, which are unrelated to

 his original claims of court error and ineffective assistance of counsel. His new allegations

 do not relate back to the original pleading, are time-barred, and will not be considered by the

 Court.

 IV.      Conclusion

          Petitioner has failed to demonstrate that he is entitled to relief under § 2255 and his

 motion to vacate, set aside or correct sentence will be DENIED. This action will be

 DISMISSED. The Court will CERTIFY that any appeal from this action would not be

 taken in good faith and would be totally frivolous. Therefore, this Court will DENY

 petitioner leave to proceed in forma pauperis on appeal. See Rule 24 of the Federal Rules

 of Appellate Procedure. Petitioner having failed to make a substantial showing of the denial

 of a constitutional right, a certificate of appealability SHALL NOT ISSUE. 28 U.S.C. §

 2253; Rule 22(b) of the Federal Rules of Appellate Procedure.


          AN APPROPRIATE ORDER WILL ENTER.



                                      s/ Thomas A. Varlan
                                      CHIEF UNITED STATES DISTRICT JUDGE



                                                 9


Case 3:11-cr-00114-TAV-CCS           Document 148       Filed 06/09/14    Page 9 of 9     PageID
                                           #: 644
